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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                   AT ASHLAND

CRIMINAL ACTION NO. 15-15-DLB-EBA

UNITED STATES OF AMERICA                                                           PLAINTIFF


V.                      MEMORANDUM OPINION AND ORDER


RICHARD E. PAULUS, M.D.                                                          DEFENDANT

                           **   **    **   **       **   **   **   **

      Defendant Richard E. Paulus, M.D. has filed three motions, which are currently

pending before the Court: a Motion for Judgment of Acquittal (Doc. # 220), a Renewed

Motion for Judgment of Acquittal (Doc. # 263), and a Motion for a New Trial (Doc. # 298).

The Government has filed its Responses (Docs. # 245, 300, and 306), and Dr. Paulus has

filed his Replies (Docs. # 304 and 309). The Court having heard oral argument on

February 22, 2017, the motions are ripe for review.1 For the reasons stated herein, Dr.

Paulus’s Motion for Judgment of Acquittal (Doc. # 220) will be granted.2 Accordingly, Dr.

Paulus’s Motion for a New Trial (Doc. # 298) will also be conditionally granted.

I.    Factual Background

      On September 3, 2015, Dr. Paulus was indicted by a federal grand jury. (Doc. # 1).


1     After oral argument, at the Court’s request, Dr. Paulus filed a Notice of Record Citations.
      (Doc. # 314). The Government responded to this Notice (Doc. # 315) and Dr. Paulus
      replied. (Doc. # 317). The Court has also considered those filings.

2     Because the Court has granted Dr. Paulus’s original Motion for Judgment of Acquittal, which
      he raised at the close of the Government’s case-in-chief, there is no need to consider Dr.
      Paulus’s Renewed Motion for Judgment of Acquittal (Doc. # 263).

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The Indictment alleged that from approximately July 24, 2008 through July 31, 2013, Dr.

Paulus performed unnecessary cardiac procedures, including catheterizations and stent

placements, and falsely recorded the existence and extent of lesions observed during the

procedure and then submitted the allegedly false and fraudulent claims to health care

benefit programs. Id. at 10-11. The Indictment charged Dr. Paulus with one count of

health care fraud and twenty-six counts of false statements relating to health care matters.

(Doc. # 1 at 11-14; Doc. # 149, 30:1-5). The suspect procedures occurred while Dr. Paulus

was working at King’s Daughters Medical Center (“KDMC”) in Ashland, Kentucky.3

       Dr. Paulus treated patients who suffer from a variety of cardiac conditions, including

coronary artery disease (“CAD”). (Doc. # 1 at 4). CAD develops when plaque builds up

along artery walls, thus restricting blood flow to the heart muscle. Id. Cardiologists can

diagnose CAD via non-invasive testing methods, such as a physical, electrocardiogram,

echocardiogram, stress testing, nuclear stress testing, and blood work. Id. They can also

use an invasive imaging procedure, called cardiac catheterization, to diagnose this

condition. Id. at 4-5. This procedure involves the insertion of a catheter into the patient’s

blood vessel. Id. at 5. The catheter is then guided up to the coronary arteries, where

contrast material is injected. Id. X-ray machines capture images of the heart, known as

angiograms, with the arteries highlighted by the contrast material. Id. Cardiologists use

these angiograms to determine whether the arteries are narrowed, and if so, by how much.



3      In 2008, Kentucky Heart & Vascular Physicians, Inc. (“KHVI”), a subsidiary of Ashland
       Hospital Corporation, d/b/a King’s Daughters Medical Center (“KDMC”), purchased
       Cumberland Cardiology, Dr. Paulus’s professional services corporation, and entered into
       a Physician’s Employment Agreement with Dr. Paulus. (Doc. # 1 at 1-2). In exchange, Dr.
       Paulus assigned his billing rights to KHVI, thus permitting it to submit claims for his services
       to Medicare and Medicaid. (Doc. # 1 at 2).

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Id. As part of his practice, Dr. Paulus relied on and interpreted angiograms to make

diagnostic and treatment decisions. Id. Cardiologists typically view angiograms live. Id.

       Dr. Paulus previously moved to dismiss the Medically Unnecessary Services Theory

of Count One of the Indictment (Doc. # 29) and the False Statement Portion of Count One

and the Entirety of Counts Two through Twenty-Seven (Doc. # 27). The Court denied both

motions by prior Order on May 4, 2016. (Doc. # 108). Specifically, the Court rejected Dr.

Paulus’s arguments that the Government had failed to state an offense under 18 U.S.C.

§ 1347 and that § 1347 was unconstitutionally vague, but deferred consideration of Dr.

Paulus’s argument that statements relating to the interpretation of angiograms are not

subject to proof or disproof. Id. Instead, the Court determined that the critical question in

this case – whether Dr. Paulus knowingly and willfully devised a scheme to defraud a

health care benefit program or simply engaged in “questionable decision-making” – was

a question that would need to be determined at trial. Id.

       After twenty-three days of trial and four days of deliberations, Dr. Paulus was

convicted of eleven of the sixteen counts that were presented to the jury.4 Count One

alleged health care fraud in violation of 18 U.S.C. § 1347. Counts Four, Five, Eight, Ten,

Twelve, Eighteen, Twenty, Twenty-One, Twenty-Four, and Twenty-Five alleged that Dr.

Paulus made false statements relating to health care matters in violation of 18 U.S.C. §




4      At the close of the Government’s case-in-chief, it voluntarily dismissed eleven of the false
       statement counts. Therefore, Counts Two, Six, Seven, Nine, Thirteen, Fifteen, Sixteen,
       Nineteen, Twenty-Two, Twenty-Three, and Twenty-Six were not presented to the jury.
       (Doc. # 223 at 192-93; Doc. # 225). Accordingly, Dr. Paulus’s Motion for Judgment of
       Acquittal on those counts is moot.

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1035. The jury acquitted on the other five counts.5 At the close of the Government’s case,

Dr. Paulus filed the pending Motion for Judgment of Acquittal. (Doc. # 220). Consideration

of this motion was deferred pursuant to Rule 29(b). After his conviction, Dr. Paulus

renewed his Motion for Judgment of Acquittal (Doc. # 263) and filed the pending Motion for

a New Trial (Doc. # 298). The Court will address these motions in turn.

II.    Analysis

       A.     Motion for Judgment of Acquittal

              1.     Standard of Review

       In order to prevail on a motion for judgment of acquittal, the convicted defendant

must demonstrate that the evidence was insufficient to prove the offense charged. The

jury’s verdict must stand if, viewing the evidence in the light most favorable to the

government, “any rational trier of fact” could have convicted the defendant. United States

v. Stewart, 729 F.3d 517, 526 (6th Cir. 2013) (citing United States v. Wettstain, 618 F.3d

577, 583 (6th Cir. 2010)). The Court may not “weigh the evidence presented, consider the

credibility of witnesses, or substitute [its] judgment for that of the jury,” and must resolve

all conflicts in evidence in favor of the government and draw all reasonable inferences in

its favor as well. United States v. Siemaszko, 612 F.3d 450, 462 (6th Cir. 2010) (citing

United States v. M/G Transp. Servs., Inc., 173 F.3d 584, 588-89 (6th Cir. 1999)). Thus, a

convicted defendant challenging the sufficiency of the evidence is presented with an “uphill

battle.” United States v. Wagner, 382 F.3d 598, 610 (6th Cir. 2004). However, “a judgment

of acquittal must be granted if ‘there is no evidence upon which a reasonable mind might


5      The jury found Dr. Paulus not guilty of Counts Three, Eleven, Fourteen, Seventeen, and
       Twenty-Seven.

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fairly conclude guilt beyond a reasonable doubt.’” United States v. Davis, 981 F.2d 906, 908

(6th Cir. 1992) (quoting United States v. Fawaz, 881 F.2d 259, 261 (6th Cir. 1989)).

       When the court reserves ruling on a defendant’s acquittal motion pursuant to Federal

Rule of Criminal Procedure 29(b), as the Court did here, it can wait to decide the motion

until after the jury returns a guilty verdict. United States v. Wagner, 382 F.3d 598, 611 n.2

(6th Cir. 2004). However, when the court “reserves ruling on a motion for judgment of

acquittal, the court ‘must decide the motion on the basis of the evidence at the time the

ruling was reserved,’ even if the defendant has put on evidence in his or her own defense.”

Id. Because there was insufficient evidence at the close of the Government’s case-in-chief

to support the jury’s verdict, the Court need not address Dr. Paulus’s renewed motion.

              2.     The evidence is insufficient to sustain the jury’s guilty verdict for
                     Health Care Fraud and False Statements Relating to a Health
                     Care Matter.

       To sustain a conviction for health care fraud under 18 U.S.C. § 1347, the

Government must prove that Dr. Paulus “(1) knowingly devised a scheme or artifice to

defraud a health care benefit program in connection with the delivery of or payment for

benefits, items, or services; (2) executed or attempted to execute this scheme or artifice

to defraud; and (3) acted with intent to defraud.” United States v. Raithatha, 385 F.3d

1013, 1021 (6th Cir. 2004), Judgment vacated on other grounds, 543 U.S. 1136 (2005);

see also United States v. White, 492 F.3d 380, 393-94 (6th Cir. 2007).            Thus, the

Government “must prove the defendant’s ‘specific intent to deceive or defraud.’” Id.

(quoting United States v. Frost, 125 F.3d 346, 354 (6th Cir. 1997)).

       “To establish guilt under 18 U.S.C. § 1035 for making false statements relating to

health care matters, the Government must prove that the defendant knowingly and willfully

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made false statements or representations in connection with the delivery of or payment for

health care benefits, items, or services and in a matter involving a health care benefit

program.” Hunt, 521 F.3d at 647-648 (internal citations and quotation marks omitted).

       Although § 1347 and § 1035 are distinct statutes which criminalize different conduct,

both statutes require that the Government prove falsity and fraudulent intent.           As

presented, the Government’s theory is that Dr. Paulus “falsely recorded the existence and

extent of his patients’ coronary blockages and inserted stents into people’s hearts that did

not need them.” (Doc. # 44). Therefore, to convict Dr. Paulus under § 1347 or § 1035, the

Government must prove that Dr. Paulus’s assessment of the degree of stenosis constitutes

a false statement, and that he made those false statements with fraudulent intent. (See

Doc. # 269, Instruction Nos. 12 and 14). Even considering the evidence in the light most

favorable to the Government, the Government failed to prove falsity and fraudulent intent

at trial. Accordingly, the Government’s proof with regard to both the health care fraud and

the false statement counts suffer from the same fatal flaws, and the Court will address the

sufficiency of the evidence for all counts in tandem.

                     a.     Parties’ Arguments

       The Government’s theory on Count One is that Dr. Paulus “performed cardiac

catheterizations on patients at KDMC and falsely recorded the existence and extent of

lesions observed during the procedure in medical records required to be kept by health

care benefit programs.” (Doc. # 1 at ¶ 41). More specifically, the Government alleged that

Dr. Paulus committed health care fraud in violation of § 1347 when he allegedly “inserted

cardiac stents in patients who did not have 70 percent or more blockage in the vessel that

he stented and who did not have symptoms of blockage.” As to Counts Two through

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Twenty-Seven, the Government alleged that Dr. Paulus “knowingly and willfully [made] a

materially false, fictitious and fraudulent statement and representation” and made and used

a “materially false writing and document” when he “caused an entry in the medical records

of the listed patients that reflected a significant degree of stenosis,” while knowing that “the

degree of stenosis was substantially less than the amount” recorded. Id. at ¶ 50.

       In his motion seeking acquittal, Dr. Paulus primarily argues that there was

insufficient evidence of an objectively false representation and fraudulent intent.(Doc. #

220. As for the health care fraud count, Dr. Paulus argues that no reasonable jury could

conclude that Dr. Paulus knowingly and willfully devised a scheme to defraud a healthcare

benefit program simply because one expert witness disagreed with his treatment decision.

(Doc. # 220-1 at 10). In support of his argument, Dr. Paulus points to testimony of

Government witnesses at trial to establish that cardiologists often disagree with one

another about the extent of stenosis and the appropriateness of stent procedures. Id. at

11. Dr. Paulus also argues that the Government’s circumstantial evidence falls short

because the Government’s presentation of “internally-conflicting” patient testimony, the

volume of stent placements, and Dr. Paulus’s compensation do not permit a reasonable

jury to conclude that Dr. Paulus had the requisite fraudulent intent. Id. at 13.

       In regards to the false statement counts, Dr. Paulus argues that an opinion regarding

degree of stenosis is not an objective fact capable of confirmation or contradiction. Id. at

14. Furthermore, Dr. Paulus cites several civil cases to support his argument that the

Government cannot prove that he made a false statement merely by introducing testimony

that one other cardiologist disagreed with his interpretation of the angiogram. Id. Dr.

Paulus also highlights the significant disagreements between Government experts who

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opined on the degree of stenosis for the same patient. Id. Thus, Dr. Paulus claims that “no

reasonable jury can conclude beyond a reasonable doubt that Dr. Paulus ‘knowingly and

willfully’ made an objectively false statement because one other cardiologist had a different

subjective interpretation of an angiogram.” Id. at 15.

       In response to Dr. Paulus’s acquittal arguments, the Government claims that it

presented sufficient evidence for a reasonable jury to find Dr. Paulus guilty on each count.

(Doc. # 245). The Government argues that circumstantial evidence alone can sustain a

guilty verdict and that there is sufficient evidence of fraudulent intent. Id. at 4. In particular,

the Government claims that the evidence established there is a “well known” and “objective

standard” for stenting blockages, which Dr. Paulus violated when he placed stents in

patients whose blockages were below that standard. Id. at 4-5. Thus, the fact that Dr.

Paulus “lied about the amount of blockage in the patient’s records” allows a reasonable jury

to infer fraudulent intent. Id. at 4-5. The Government also claims that the jury viewed the

angiograms themselves and could determine whether a significant lesion existed or not.

Id. at 5. Lastly, the Government directs the Court’s attention to circumstantial evidence of

intent, including: the Defendant’s profits from his fraudulent scheme, the fact that the

Defendant performed more cardiac procedures than his peers, as well as testimony from

other cardiologists and Dr. Paulus’s patients regarding conversations they had with Dr.

Paulus. Id. at 6.

       The Government also argues that it presented sufficient evidence for a reasonable

jury to convict Dr. Paulus of making false statements in connection with healthcare matters.

Primarily, the Government points to the expert testimony of Doctors Ragosta and Moliterno,

who disagreed with Dr. Paulus’s angiogram assessments.                 Id. at 7.   However, the

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Government claims that “[i]t is not the mere fact of different assessments, but the degree

to which those assessments differed that is determinative.” Id. Lastly, the Government

claims that the falsity element is supported by circumstantial evidence of profits, testimony

by other KDMC physicians who believed Dr. Paulus was performing unnecessary

procedures, the volume of procedures Dr. Paulus performed, and “the fact that the number

of procedures he performed went down after the United States’ investigation ... began.”

Id. at 8.

                       b.     Sufficiency of the Evidence

        The Government presented both direct and circumstantial evidence against Dr.

Paulus. The Government’s primary evidence consisted of angiograms and medical records

of Dr. Paulus’s patients, as well as expert opinion testimony by Dr. Ragosta,6 Dr. Moliterno,7

Dr. Morrison,8 and Dr. Ali9 that Dr. Paulus’s angiogram assessments were incorrect and

that the stent procedures were unnecessary. The Government also called several other

physicians, including six cardiologists10 and one neurologist,11 who testified that they


6       Dr. Ragosta testified about 66 patients. (Doc. # 203 at 89-196). Out of those 66 patients,
        53 were part of Count One and 13 constituted false statement counts (Counts 4, 8, 10, 11,
        12, 14, 17, 18, 20, 21, 24, 25, and 27).

7       Dr. Moliterno’s testimony involved 7 patients. (Doc. # 223 at 42-154). Out of those 7
        patients, 5 were at issue in Count One and 2 constituted false statement counts (Counts 3
        and 5).

8       Dr. Morrison testified about 4 patients. (Doc. # 212 at 17-91). Each of those patients were
        part of Count One.

9       Dr. Ali testified about 3 patients. (Doc. # 206 at 35-46). Each of those patients were part
        of Count One.

10      Doctors Shah (Doc. # 203), Kelleman (Doc. # 204), Srinivisan (Doc. # 217), Touchon
        (Doc. # 195), Studeny (Id.), and Elesber (Doc. # 223).

11      Dr. Henry Goodman (Doc. # 192).

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believed Dr. Paulus performed unnecessary procedures. The Government also presented

testimony regarding the American College of Cardiology standard for stenting coronary

blockages and details of payer requirements for stent procedures. (Doc. # 245 at 4) (citing

Doc. # 200 at 14-15 (Dr. Robert Touchon); Doc. # 206 at 35-46 (Dr. Arshad Ali); Doc. # 195

(Dr. Earl Berman); Doc. # 198 (Lee Guice)). Additionally, the Government called several

of Dr. Paulus’s patients who “testified that he made statements about their conditions that

were either inconsistent with the procedures he performed, or that were later shown to be

false by other physicians.”      (Doc. # 245 at 6).   Lastly, the Government presented

circumstantial evidence of Dr. Paulus’s “profit from his scheme,” the volume of procedures

he performed, comparisons of Dr. Paulus’s volume to other doctors in the region and the

nation-at-large, and the increase in cardiac procedures at KDMC after Dr. Paulus arrived

and the decrease after the Government’s investigation began. Id.

       Dr. Paulus’s sufficiency arguments hinge on two essential elements - falsity and

fraudulent intent. The Court will examine each element in turn.

                            i.      The Government failed to prove falsity.

       The Government has alleged that Dr. Paulus committed health care fraud by

exaggerating the extent of his patients’ stenosis in their medical records to receive

reimbursement for unnecessary services and defraud a health care benefit program. The

Government relies on this same alleged conduct as a basis for each of the false statement

counts. Therefore, the evidence must prove that Dr. Paulus made a false statement. At

oral argument on these motions, the Court asked the Government to identify the false

statement, to which the Government responded: “The percent of stenosis ... That is the lie.”

Accordingly, to convict Dr. Paulus under § 1347 or § 1035, the Government must prove,

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beyond a reasonable doubt, that Dr. Paulus’s representation regarding the degree of

stenosis constituted a false statement. (Doc. # 269, Instruction Nos. 12 and 14).

       Unfortunately, the Court has been unable to find any authority directly addressing

the required proof for establishing falsity under § 1347 or § 1035, or addressing whether

a cardiologist’s reading of an angiogram is subject to proof or disproof. However, the Sixth

Circuit has considered the falsity element in other contexts. Specifically, the Sixth Circuit

has held that “[i]t is fundamental that a false statement is a ‘factual assertion.’” Williams

v. United States, 458 U.S. 279, 284 (1982) (defining this term in the context of 18 U.S.C.

§ 1010, which proscribes the making of false statements to HUD); see also United States

v. Waechter, 771 F.2d 974, 978 (6th Cir. 1985) (describing this term as it is used in 18

U.S.C. § 1014, which prohibits the making of false statements on loan and credit

applications). Moreover, the false statement alleged must be a “factual assertion capable

of confirmation or contradiction.” United States v. Kurlemann, 736 F.3d 439, 445 (6th Cir.

2013) (discussing the requirement of a false statement in the § 1014 context).12

       Thus, the Government “must identify a statement” that the defendant made “which

asserts a proposition that is subject to proof or disproof.” Waechter, 771 F.2d at 978.

When the Government produces evidence that “demonstrates that the asserted proposition

is untrue,” the Government has “established one element of the defendant’s guilt.” Id. If

substantial, circumstantial evidence can permit a reasonable jury to conclude beyond a

reasonable doubt that the defendant made a false statement. See e.g. United States v.



12     Any argument that 18 U.S.C. § 1010 and 18 U.S.C. § 1014 proscribe narrower conduct than
       18 U.S.C. § 1035 is meritless. The Government’s theory hinges on a false statement and
       the Indictment specifically charges Dr. Paulus with the violation of 18 U.S.C. § 1035(a)(2),
       which is the false statement portion of that statute. (Doc. # 1 at 14).

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Mathis, 738 F.3d 719 (6th Cir. 2013). Therefore, whether the jury’s verdict is sustainable

comes down to one critical question - did the Government present sufficient evidence for

the jury to determine that Dr. Paulus made a false statement regarding the extent of his

patients’ stenosis?

       At the dismissal stage, the Government represented to the Court that interpreting

angiograms “is a science” and “not akin to reading tea leaves.” (Doc. # 44 at 21). Thus,

the Government claimed that “angiogram evidence is susceptible to proof” of truth or falsity

and “[w]hile there perhaps can be a good faith dispute about the precise percentage of the

blockage, there can be no argument that the degree of stenosis the Defendant recorded

is false” because inter-observer variability could not account for the stark differences

between interpretations. Id. at 22.

       At oral argument on Dr. Paulus’s dismissal motions, the Court inquired about this

exact issue. In response, the Government assured the Court that the inter-observer

variability evidence would show that at most the range of opinion between cardiologists

would be “10 percent, maybe 20 percent,” but “no more than that,” which was similar to the

evidence presented in McLean and Patel.13 (Doc. # 107 at 34). The Government further

claimed that inter-observer variability “is not 40 percent, 50 percent, 70 percent, 100

percent.” Id. Although the Government admitted that the prosecution of Dr. Paulus was

“a case that will rise and fall upon experts,” it stated that there was “significant other

information ... to indicate that Dr. Paulus was placing an inordinate amount of stents,” a

practice that allegedly stopped once the Government’s investigation began. Id. at 40.


13     United States v. McLean, 715 F.3d 129 (4th Cir. 2013); United States v. Patel, 485 F. App’x
       702 (5th Cir. 2012).

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       However, the Government’s promise of proof did not come to fruition. When the

Court carefully examines the evidence presented at trial, the Government’s case fails for

two intertwined reasons. First, the scientific evidence and expert opinion testimony

presented by the Government does not prove falsity. Instead, it proves that when it comes

to angiography, there is more than meets the eye. Second, the circumstantial evidence

presented was not substantial enough to prove falsity. Even when the Court reviews all of

the evidence in the light most favorable to the Government, the evidence is insufficient to

prove falsity beyond a reasonable doubt.

       As explained above, a false statement must be a factual assertion that is subject to

proof or disproof. Waechter, 771 F.2d at 978. Dr. Paulus argues that there is insufficient

evidence “to prove that [he] ‘knowingly and willfully’ made an objectively false statement

that is subject to confirmation or contradiction.” (Doc. # 220-1 at 14). In response, the

Government claims that it presented direct evidence of falsity through angiograms and

expert opinion testimony that “the Defendant inserted stents into patients whose blockages

were below [the 70%] standard, and then lied about the amount of blockage in the patient’s

records.” (Doc. # 245 at 5). The Government also asserts that the falsity of those records

is supported by circumstantial evidence of profits, testimony of co-workers who believed

he was performing unnecessary procedures, testimony of patients, the volume of

procedures, and the fact that the number of procedures went down after the investigation

began. Id. at 8. This disagreement between the parties can be distilled down to one issue

- whether the degree of stenosis is an objective fact, which can be false, or a subjective

opinion, which is not subject to proof or disproof.



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       Merriam-Webster defines a fact as “a piece of information presented as having

objective reality.” On the other hand, an opinion is defined as “a view, judgment, or

appraisal formed in the mind about a particular matter” or “a formal expression of judgment

or advice by an expert.” While these concepts are elementary, they are essential when

examining falsity in a criminal case such as this one, where the defendant claims he was

exercising his medical judgment. The importance of the distinction between fact and

opinion is highlighted by the legislative history of § 1347. The health care fraud statute is

“not intended to penalize a person who exercises a health care treatment choice or makes

a medical or health care judgment in good faith simply because there is a difference of

opinion regarding the form of diagnosis or treatment.” H.R. REP. NO. 104-736, at 258

(August 21, 1996), reprinted in 1996 U.S.C.C.A.N. 1990, 2071. Therefore, the statutes

targeting health care fraud do not criminalize subjective medical opinions where there is

room for disagreement between doctors. Instead, criminal liability only attaches to Dr.

Paulus if the Government proved, beyond a reasonable doubt, that he knowingly and

willfully exaggerated the extent of his patients’ stenosis in their medical records, for the

purpose of defrauding a health care benefit program.

                                    a.      Angiogram Evidence

       The Government’s two primary expert witnesses, Dr. Ragosta and Dr. Moliterno,

both acknowledged that interpreting angiograms can be a difficult exercise,14 which results


14     Other Government witnesses also shared that belief. For example, on direct examination
       by the Government, Dr. Robert Touchon “object[ed]” to the Government’s use of the word
       “unnecessary.” (Doc. # 195 at 37). However, he would opine that he “saw angiograms,
       pictures of lesions, blockages that [he] would not have placed a stent in that received
       stents” because in his opinion “they were less than 50 percent blockages in patients with
       chronic complaints.” Id at 37-38. Dr. Touchon also testified that the 70% standard is “an
       imperfect number ... based upon the eye of the beholder.” (Doc. # 195 at 46).

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in a level of variability between cardiologists.15 (Doc. # 203 at 207-208; Doc. # 223 at 144-

145).    Put simply, when cardiologists interpret angiograms, there is an inherent

disagreement between them about the degree of stenosis. This difference of opinion when

two or more cardiologists review the same angiogram and arrive at different conclusions

regarding the nature and extent of a blockage is known as “inter-observer variability.” This

variability has been the subject of vigorous debate since the beginning of this case.

Although both Doctors Ragosta and Moliterno attempted to minimize the significance of that

variability, the evidence established that there is a significant amount of subjectivity and

disagreement between cardiologists.

        Specifically, Dr. Ragosta conceded that “[t]here is variability and interpretation in

some lesions.” (Doc. # 203 at 207). On cross-examination, Dr. Paulus questioned Dr.

Ragosta about a passage from his book, Textbook of Clinical Hemodynamics, wherein Dr.

Ragosta stated: “Angiogram alone is notoriously misleading [in] the subject of lesions that

appear only modestly narrow. Not only are experienced interventional cardiologists unable

to discriminate significant from non-flow limiting lesions by angiography alone, but also they

completely disagree regarding the significance of the same lesion.” Id. Dr. Paulus also

cross-examined Dr. Ragosta on a quote from one of his other books, Cardiac

Catheterization, where Dr. Ragosta opined that “[t]he wide interobserver variability of



15      Dr. Moliterno also discussed the limitations of angiography. For example, a cardiologist
        “may need to use an [Intra-Vascular Ultra Sound] catheter in some cases if there’s some
        ambiguity” or if “you can’t see the lesion.” (Doc. # 223 at 144-45). Additionally, Dr. Moliterno
        discussed how the biology of a specific patient may affect angiography: “Unfortunately, in
        Kentucky, we have some generous-sized patients, and sometimes you can’t always see as
        well as you can in others. And so you may need something like an [Intra-Vascular Ultra
        Sound] or a [Fractional Flow Reserve] ... to overcome some of the limitations of angiography
        in certain cases.” Id.

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coronary angiography is well known.” Id. at 208. Dr. Ragosta clarified these statements

by explaining that “lesions that are between 50 and 70 percent are difficult to assess by

angiography, and angiography can be misleading for lesions” classified as “borderline

blockages.” Id. at 209. Similarly, Dr. Moliterno stated that inter-observer variability can

affect the assessment of angiograms and that it would not “be unusual for cardiologists to

disagree over a wide range of stenosis,” but claimed that Dr. Paulus’s interpretations fell

“way outside” of the range of inter-observer variability.16 (Doc. # 223 at 121).

       Additionally, Dr. Ragosta testified that estimating percentage stenosis can be an

imprecise exercise. Dr. Ragosta stated that he prefers to use categories of stenosis –

mild, moderate, severe – as opposed to percentages.                  “[U]nless you’re making a

measurement, which most people don’t, I think it’s a little, again, misleading that it’s an

actual percentage. So I tend to use, like a lot of folks do, categories of stenosis.” (Doc. #

204 at 31). Dr. Moliterno also testified in terms of categories - trivial, mild, moderate, and

severe. (Doc. # 223 at 134-35).

       At trial, the evidence showed that inter-observer variability can account for greater

than 10-20% variability. For example, neither party disputes that for patient D.C., who is

part of Count One, Doctors Ragosta and Moliterno’s stenosis assessments varied up to

24%.17 Dr. Ragosta interpreted D.C.’s blockage as 26% (Doc. # 203 at 158); whereas Dr.


16     Dr. Ragosta also opined that inter-observer variability is primarily confined to “ambiguous
       lesions” between “50 to 70 percent,” and that in this case, “[m]ost of the ones [he] evaluated
       were less than that, in the 30 to 40 percent or less range.” (Doc. # 204 at 50).

17     This inter-observer variability increased after the Government’s case-in-chief. In fact, on
       rebuttal, it came into evidence during the Government’s direct of Dr. Moliterno that he had
       noted at one point that this blockage could have been as high as 50-60%, which makes the
       range of inter-observer variability between him and Dr. Ragosta as high as 34%. (Doc. #
       259 at 155). The Court also takes note of the fact that there is a 20% range in Dr.

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Moliterno originally assessed the blockage as 40-50%. (Doc. # 223 at 112). Dr. Paulus

estimated the blockage as 75-80%. (Doc. # 223 at 114). Remarkably, Dr. Moliterno’s

opinion is essentially as close to Dr. Paulus’s percentage as it is to Dr. Ragosta’s

assessment. The difficulty of interpreting angiograms is further illustrated by another of

D.C.’s arteries. During his testimony, Dr. Moliterno highlighted the distal circumflex artery,

which he believed was “completely blocked.” (Doc. # 223 at 111). However, neither Dr.

Paulus nor Dr. Ragosta mentioned or observed the existence of that blockage. (Doc. # 203

at 156-158; Doc. # 249 at 10).           When pressed about the variance between the

Government’s experts and whether disagreement among them necessarily meant one had

lied, Dr. Moliterno testified “I would like to believe that neither of us is lying. I know I am

not, and I don’t think [Dr. Ragosta] was.” (Doc. # 223 at 135).

       These variations in the Government’s experts’ estimates significantly undermine the

Government’s contention that inter-observer variability is irrelevant, and as a result,

diminishes the strength of the Government’s angiogram and expert opinion evidence.

Thus, stenosis, at least to some degree, does seem to be in the eye of the beholder.

       The Court recognizes that the examples of variability between the Government’s

expert witnesses are few. However, it is not the quantity of these disagreements, but the

quality of such evidence that persuades the Court. These disagreements also reinforce the

experts’ admissions that angiograms and blockages are often ambiguous, which cuts to the

heart of criminal liability.




       Moliterno’s own estimates – a sort-of intra-observer variability, if you will. The Court notes
       this, even though it came in during the Government’s rebuttal, which is only relevant to Dr.
       Paulus’s Renewed Motion for Judgment of Acquittal.

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       In the one case18 where both of the Government’s experts opined, their stenosis

estimates varied in excess of 20%. In addition, the assessments of one artery diverged

completely, with one expert finding an artery was “completely blocked,” and the other noting

nothing about that artery. More importantly, the Government cannot cure this issue by

relying on the testimony of one expert per procedure, as it did in all other cases. As several

courts have observed in the False Claims Act context, the expert testimony of one

disagreeing doctor, where reasonable minds can differ, is insufficient to prove falsity. See

e.g. United States v. AseraCare, Inc., 176 F. Supp. 3d 1282 (N.D. Ala. 2016).

       Dr. Paulus relies on several False Claims Act cases in support of his argument that

the Government’s proof is insufficient, where only one expert witness disagreed with his

subjective opinion. (Doc. # 220-1 at 16; Doc. # 311). In AseraCare, Inc., the district court

granted summary judgment to the defendant because the Government’s proof on the falsity

element failed as a matter of law. Specifically, the district court found that “[w]hen two or

more medical experts look at the same medical records and reach different conclusions

about whether those medical records support the certifying physicians’ [conclusions], all

that exists is a difference of opinion.” AseraCare, Inc., 176 F. Supp. 3d at 1285. “This

difference of opinion among experts regarding the patients’ hospice eligibility alone is not

enough to prove falsity, and the Government has failed to point the court to any objective

evidence of falsity.” Id. Because the Government “presented no evidence of an objective

falsehood for any of the patients at issue,” and because “a difference of opinion between

physicians and medical experts about which reasonable minds could differ [was] all the



18     The Government confirmed at oral argument on these motions that D.C. was the one patient
       that both Doctors Ragosta and Moliterno testified about.

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Government ... presented to prove falsity,” the court granted summary judgment in favor

of the defendant-provider.

       Several other courts have reached similar conclusions in False Claims Act cases.

See United States v. St. Mark’s Hosp., 2017 WL 237615 (D. Utah Jan. 19, 2017); see also

United States v. Vista Hospice Care, Inc., 2016 WL 3449833 (N.D. Tex. Jun. 20, 2016).

Considering a False Claims Act case against a cardiologist allegedly performing

unnecessary medical procedures, the federal district court in Utah held that when a

standard is “inherently ambiguous, these representations cannot be objectively false” and

dismissed the complaint against the defendant-provider. St. Mark’s Hosp., at *11. Under

the False Claims Act, “liability ‘must be predicated on an objectively verifiable fact.’” Id. at

*8 (quoting United States ex rel. Morton v. A Plus Benefits, Inc., 139 F. App’x 980, 983

(10th Cir. 2005)).     Accordingly, “[e]xpressions of opinion, scientific judgments, or

statements as to a conclusion about which reasonable minds may differ cannot be false.”

Id. (quoting A Plus Benefits, Inc., 139 F. App’x at 983).

       Not surprisingly, the Government contests the value of these False Claims Act

cases, claiming that they are “wrongly decided” and currently on appeal. Moreover, the

Government claims that this case is factually distinguishable from the civil cases Dr. Paulus

cites. Rather than presenting evidence of one other physician’s subjective difference of

opinion, the Government claims that it has “presented evidence of multiple physicians

disputing an objectively false statement by the Defendant – the degree of blockage in a

given artery – plus ample circumstantial evidence supporting the assertion that the

procedures were unnecessary or that the blockage was not as the Defendant recorded it.”

(Doc. # 245 at 9). However, the Government’s attempt to distinguish these cases fails.

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The evidence presented at trial failed to show that the degree of stenosis is an objective

fact, subject to proof or disproof. And while these False Claims Act cases involve civil

liability, the concepts are equally applicable to criminal statutes that require a false

statement.19

       In conclusion, the testimony and evidence presented at trial demonstrated that

interpreting angiograms is a difficult task (See Doc. # 203 at 207-208; Doc. # 223 at 144-

145) and that cardiologists frequently disagree with one another regarding the degree of

stenosis. (See Doc. # 223 at 111-112; Doc. # 203 at 156-158). In fact, when more than one

of the Government’s experts opined on the same procedure, their stenosis assessments

varied up to 24%, beyond the 20% maximum that the Government claimed inter-observer

variability could account for. (Doc. # 44 at 22-23). In fact, the evidence showed that at

times, a cardiologist could entirely miss an artery that another cardiologist believed was

“completely blocked.” (Doc. # 223 at 111).

       Therefore, the expert testimony and angiogram evidence at trial failed to prove that

degree of stenosis is an objectively verifiable fact subject to proof or disproof. Instead, the

evidence in this case established that degree of stenosis is a subjective medical opinion,

incapable of confirmation or contradiction. Because the degree of stenosis is a subjective

opinion, a reasonable jury could not conclude, beyond a reasonable doubt, that Dr. Paulus

made a false statement. Accordingly, the Government did not produce any evidence of



19     The Court notes that there is currently a False Claims Act case pending on its docket,
       involving these same parties and based on the same alleged conduct. The Court has a
       difficult time imagining a scenario where Dr. Paulus is held criminally responsible, but the
       evidence is insufficient to support civil liability. Accordingly, the Court concludes that simply
       cannot be the case, and the standard for falsity under § 1347 and § 1035 must be at least
       as demanding as it is in the False Claims Act context.

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falsity from the angiogram evidence, and if this conviction is to be sustained, the

circumstantial evidence will have to carry the Government’s burden.

                                   b.     Circumstantial Evidence

       If substantial, circumstantial evidence can permit a reasonable jury to conclude

beyond a reasonable doubt that the defendant made a false statement. See, e.g., United

States v. Mathis, 738 F.3d 719 (6th Cir. 2013). “However, a line must be drawn between

valid circumstantial evidence, and evidence which requires a leap of faith in order to

support a conviction.”    United States v. White, 932 F.2d 588, 590 (6th Cir. 1991).

Unfortunately for the Government, the circumstantial evidence it presented at trial is

insufficient to permit a reasonable jury to conclude, beyond a reasonable doubt, that Dr.

Paulus made a false statement.

       The Government points to several pieces of circumstantial evidence in support of

falsity, including: the volume of procedures, the trends at KDMC pre-Dr. Paulus’s arrival

and post-investigation, testimony of other cardiologists that they believed Dr. Paulus

performed unnecessary procedures, testimony of Dr. Paulus’s patients, Dr. Paulus’s profits

from the alleged scheme, the anonymous complaint to the Kentucky Board of Medical

Licensure (“KBML”), and the Agreed Order of Retirement that Dr. Paulus entered into with

the KBML. Although the list may seem long, even when viewed in the light most favorable

to the Government, this circumstantial evidence is woefully inadequate.

       At oral argument on the pending motions, the Government relied heavily on the

volume of procedures that Dr. Paulus performed, which included peer comparison data to

other doctors in Kentucky and the nation-at-large (Pl. Exs. 435, 436), as well as the trends

in the cardiology department at KDMC before Dr. Paulus joined the hospital and after the

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investigation commenced. (Doc. # 216 at 74). However, in McLean, another health care

fraud case for medically unnecessary stent procedures, the Fourth Circuit declined to hold

that “pattern evidence showing that a physician placed more unnecessary stents than the

national average necessarily would be probative of fraud, for such a pattern might only

suggest negligence.” United States v. McLean, 715 F.3d 129, 139 (4th Cir. 2013).

Although the Fourth Circuit went on to hold that “McLean repeatedly overstated blockage

by a margin well beyond the normal variation between observers,” the angiogram and

expert evidence in this case did not prove that. Id. Thus, the volume of procedures and

the trends at KDMC do not permit a reasonable jury to make the inference that Dr. Paulus’s

stenosis assessments were false.

       Similarly, the testimony of Dr. Paulus’s co-workers and patients do not prove falsity.

The Government introduced testimony of other cardiologists who disagreed with Dr.

Paulus’s decision to stent a patient. Doctors Shah,20 Kelleman,21 and Srinivisan22 provided

generic testimony. Doctors Ali,23 Touchon,24 Studeny,25 and Elesber26 testified with slightly


20     Dr. Shah testified that when he was shown several angiograms of Dr. Paulus’s procedures
       he thought “[i]t was outrageous” and believed that the arteries stented were not blocked.
       (Doc. # 203 at 23).

21     Dr. Kelleman testified that Dr. Paulus had unsuccessfully attempted to get exclusive
       intervention privileges at KDMC. (Doc. # 204 at 81-82). Dr. Kelleman also testified that he
       questioned some of Dr. Paulus’s stent procedures after reviewing their angiograms and that
       he remembered Dr. Paulus doing “lots of caths” on two certain patients, T.W. and
       somebody with a last name that started with B. Id. at 89-90. In regards to these two
       patients, Dr. Kelleman testified that he believed T.W. had underwent “at least a hundred”
       catheterization procedures and that Mr. B had underwent “around 60" catheterization
       procedures. Id. at 90.

22     Dr. Srinivisan testified that he did not have direct knowledge of tests ordered by Dr. Paulus
       that caused concern. (Doc. # 217 at 16).

23     Dr. Ali testified that he saw angiograms where “there was no significant blockage that would
       have required stenting by most practicing cardiologists,” where Dr. Paulus placed a stent.

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more specificity that they believed Dr. Paulus had performed unnecessary stent

procedures.

       First, the Court notes that the Sixth Circuit has held in the health care fraud context

that although “individualized patient testimony” is not required, “[i]f expert testimony is

offered in lieu of patient testimony, the expert testimony should be sufficiently specific to

the patient, date, and services in the indictment.” United States v. Martinez, 588 F.3d 301,

315 (6th Cir. 2009). The testimony offered by Shah, Touchon, Studeny, Kelleman, Elesber,

and Srinivisan consists of generic disagreement with Dr. Paulus’s stenting decisions, and

is not sufficiently specific. Nevertheless, the Court will consider the testimony of these

doctors as circumstantial evidence of falsity. Even so, this evidence fails to transform Dr.



       (Doc. # 206 at 28-29). However, Dr. Ali stated that he was unable to provide the number
       of cases he was familiar with or the patients’ names. However, he was able to testify
       specifically regarding three procedures (F.C., M.C., and R.D.), which were part of Count
       One. Id. at 35-46.

24     Dr. Touchon testified that he believed unnecessary cardiac procedures were performed at
       KDMC, including on some of Dr. Paulus’s patients. As support for his belief, Dr. Touchon
       testified: “I had the opportunity to see patients, more than one, probably more than ten, who
       had come into the hospital with complaints of chest discomfort who had invasive
       procedures, stents performed, who still had the same pain. The procedure did not relieve
       the pain and required further evaluation and treatment, not necessarily always cardiac.”
       (Doc. # 195 at 34-35).

25     Discussing his review of Dr. Paulus’s angiograms and stent placements, Dr. Studeny
       testified: “I saw stents being placed – as I mentioned earlier in our discussion, you know,
       usually we put stents in places where blockages are 70 percent or greater. The 50 to 70
       percent is a gray zone. There may be reasons to or not to treat. But, you know, I just, I’d
       see stents placed in places where there were lumps and bumps in arteries and they just
       weren’t that severe.” (Doc. # 195 at 113). Dr. Studeny also estimated that this had
       happened with Dr. Paulus’s patients “certainly more than 20, less than 50 times.” Id. at 113-
       14.

26     Dr. Elesber testified that he saw “unnecessary stenting” performed by Dr. Paulus at KDMC
       and had viewed angiograms where “the blockage was definitely less than 50 percent in
       cases” and that in a “substantial number” of cases, patients “got a stent they didn’t need
       because the blockage obviously was like 10 percent, 20 percent.” (Doc. # 223 at 17-18).

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Paulus’s stenosis assessments from a subjective medical opinion into an objective fact

subject to proof or disproof. In short, additional testimony of vague disagreement with Dr.

Paulus’s stenosis assessments does not prove falsity.

       The Government also relies on several statements Dr. Paulus allegedly made as

circumstantial evidence of falsity. Specifically, the Government has pointed to four alleged

statements by Dr. Paulus to patients, which the Government claims “were either

inconsistent with the procedures [Dr. Paulus] performed” or “were later shown to be false

by other physicians.” (Doc. # 245 at 6). First, G.J. testified that during his procedure, Dr.

Paulus “said he couldn’t find any blockage and said that he would look into the heart valve,

the outer heart valve,” and that Dr. Paulus placed a stent “in [his] heart valve.” (Doc. # 201

at 4, 26, and 28). Second, W.C. testified that Dr. Paulus had told him that he needed

another stent, but “the Obama law wouldn’t allow him to put it in” and that the other doctors

he has consulted have told him that the health problems he has are “not related to [his]

heart.” (Doc. # 201 at 10, 18). The Court is uncertain what reasonable inferences, if any,

the jury could draw from these two statements. The evidence at trial clearly demonstrated

that stents are placed in arteries, not valves. Similarly, there is no reasonable inference

of falsity that the jury could have drawn from Dr. Paulus’s statement that he did not place

a stent, for reasons related to the Affordable Care Act or otherwise.

       In its briefing, the Government claims that “[C.C.] testified that the Defendant put in

two stents, telling [C.C.] that one was 85-90% blocked, while the other was only 20-25%

clogged but he would need it ‘down the line.’” (Doc. # 245 at 6). Patient C.C. did testify that

Dr. Paulus placed two stents in his arteries after an emergency room visit. (Doc. # 200 at

78). C.C. also recalled that he spoke with Dr. Paulus after his stent procedure and that Dr.

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Paulus told him that he put in a stent that was 90% blocked and “he also put in another one

that was either 20 or 30 – 25 percent clogged.” Id. at 80. But, C.C. did not testify that Dr.

Paulus told him he would need the stent “down the line;” rather, C.C. testified that he

thought he would need it “down the line.” Id. While, C.C.’s testimony that Dr. Paulus told

him one of his stented arteries was “either 20 or 30 – 25 percent clogged” does constitute

circumstantial evidence of falsity, the Government places more weight on this testimony

than it can bear. A single, isolated statement by Dr. Paulus does not prove falsity.

       At oral argument, the Government also claimed that Dr. Paulus falsified a patient’s

medical file to justify a procedure when he recorded that D.C. complained of chest pain.27

However, D.C.’s testimony at trial did not establish that he did not complain of chest pain.

In direct examination, D.C. explained his symptoms as: “Not necessarily chest pain, but I

just felt tired. Tired all the time. No energy. But as far as chest pain, not – no, none that

I can remember.” (Doc. # 201 at 49). On cross-examination though, D.C. confirmed the

accuracy of his chest pain complaint: “Yeah, recurrent chest pain, that would be right.” Id.

at 67. Then on re-direct, the Government asked if the documentation regarding chest pain

was inaccurate. In response, D.C. stated: “I have arthritis, too, in my neck, shoulders. And

I do have some chest pain. I never thought it was heart related, though.” Id. at 69. Thus,

D.C.’s testimony does not establish that the notation of chest pain in his medical records

was false, and this testimony does not prove falsity. In fact, there was no evidence

presented at trial that established that Dr. Paulus falsified any patient symptoms in an



27     The Government may have been using this example to liken this case to McLean and Patel,
       discussed infra, pgs. 27-31. Aside from the lack of clarity in the record about what D.C. told
       Dr. Paulus, the facts and evidence presented in McLean and Patel are significantly different
       from this case.

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attempt to justify performing a catheterization or placing a stent.

       In addition, the Government relies on an alleged statement made by Dr. Paulus to

Dr. Henry Goodman, a neurologist at KDMC. Specifically, Dr. Goodman testified that when

he questioned Dr. Paulus about his reasons for performing certain catheterizations, Dr.

Paulus responded that “[I]f [he] didn’t do it, somebody else would.” (Doc. # 192 at 81).

This testimony does not prove that Dr. Paulus’s stenosis assessments were false. There

is no reasonable inference of falsity that the jury could have drawn from Dr. Paulus’s

alleged statement. In fact, an equally plausible inference is that the catheterizations were

necessary, and thus, another cardiologist would have performed them if Dr. Paulus had

not.

       There is little evidentiary value in the other pieces of circumstantial evidence the

Government relies upon. While profits and a financial motive are circumstantial evidence

of fraudulent intent, Dr. Paulus’s high salary as a cardiologist does not permit a reasonable

jury to infer that Dr. Paulus’s stenosis assessments were false. Because the majority of

the salary Dr. Paulus earned was not necessarily dependent upon the allegedly-fraudulent

procedures, the income evidence is relatively weak circumstantial evidence.28 Likewise,

there is no reasonable inference of falsity that a reasonable jury can draw from the

anonymous complaint to the KBML or Dr. Paulus’s Agreed Order of Retirement. (Pl. Exs.



28     Typically, “income evidence” is “relevant to demonstrate that financial gain was the motive
       for the crimes charged,” and proof of motive is always welcome. United States v. Logan,
       250 F.3d 350, 369 (6th Cir. 2001) superseded by rule on other grounds in McAuliffe v.
       United States, 514 F. App’x 542 (6th Cir. 2013). This is particularly so when the defendant’s
       “substantial income was necessarily dependent upon” the allegedly criminal activity. Id. In
       a case such as this, where the defendant’s alleged crime occurred during the course of his
       legitimate employment, his profits, while relevant and admissible, bear significantly less
       evidentiary weight.

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402; 523). Considering the totality of the evidence in the light most favorable to the

Government, this circumstantial evidence falls far short of proving that Dr. Paulus’s

stenosis assessments constituted a false statement. When the Court compares the

evidence in this case to the other cases where courts have upheld convictions for

unnecessary stent procedures, this case is easily distinguished and the defects in the

evidence against Dr. Paulus become increasingly apparent.

                                  c.     Case Law from Other Circuits

        The Government has relied heavily on two similar convictions, which were upheld

by the Fourth and Fifth Circuits. See United States v. McLean, 715 F.3d 129 (4th Cir.

2013); see also United States v. Patel, 485 F. App’x 702 (5th Cir. 2012). At the dismissal

stage, the Court was persuaded by those cases and permitted this prosecution to proceed

to trial.   However, the proof adduced at trial clearly demonstrated that this case is

distinguishable from McLean and Patel in critical respects.

        In McLean, an interventional cardiologist was convicted of health care fraud and

making false statements in connection with the delivery of or payment for health care

services, because he submitted claims for medically unnecessary stent procedures – the

very same charges brought against Dr. Paulus. At trial, the Government proved its case

against McLean with testimony from two expert cardiologists, hospital staff who worked

with the defendant, and several of his former employees and patients, as well as evidence

of statements by the defendant. The Government also pointed to peer comparison data,

inconsistent statements by the defendant, and his attempt to shred subpoenaed medical

records.



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       Addressing McLean’s sufficiency-of-the-evidence arguments, the Fourth Circuit held

that the jury’s guilty verdict was supported by substantial evidence for both the health care

fraud and false statement convictions. The Fourth Circuit found that “McLean’s pattern of

overstating blockage by a wide margin and placing unnecessary stents in a large number

of cases was direct evidence of a fraudulent scheme.”          McLean, 715 F.3d at 138.

Specifically, the court determined that the “stark disparity between what McLean recorded

and what the angiogram showed strongly suggests he intentionally committed fraud.” Id.

One expert opined that “over 100 of McLean’s cases involved blockage of 25% or less” and

the other expert concluded that “McLean grossly overstated blockage in the 59 procedures

he reviewed.” Id. For example, in one procedure, the expert assessed the blockage as 0%

and McLean recorded it as 80% to 90%. Id.

       While the Fourth Circuit noted that expert testimony by doctors who disagreed with

the defendant’s decision-making does not necessarily prove fraud, the court found that

there “was also sufficient evidence to rule out non-criminal explanations.” Id. In McLean,

the experts “admitted that angiogram reading is subjective” but testified that “physicians

should be in the same ballpark and inter-reviewer variability should not exceed 10% to

20%.” Id. The jury also had the opportunity to view the angiograms and “determine

whether they were within the borderline area where subjectivity could account for McLean’s

overstatements.” Id. Because the evidence at trial showed that “McLean repeatedly

overstated blockage by a margin well beyond the normal variation between observers,” the

Fourth Circuit held that “the jury could reasonably exclude the phenomenon of inter-

reviewer variability as an explanation for McLean’s conduct.” Id. at 138-39.



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       Moreover, the Fourth Circuit found that McLean’s convictions were supported by

“separate evidence of fraud,” including statements by the defendant which implied he knew

a stent was unnecessary; evidence which indicated that the defendant “made other

misrepresentations to create the illusion of medical necessity,” such as recording symptoms

patients did not experience or complain of; inconsistent explanations for his angiogram

assessments; his attempt to shred patient files subpoenaed by the Government; and his

financial motive. Id. at 139. This significant circumstantial evidence, viewed in the light

most favorable to the Government, permitted a reasonable jury to conclude beyond a

reasonable doubt that McLean was guilty of health care fraud. The Fourth Circuit relied on

the same evidence to sustain the jury’s verdict on the false statement counts.

       Similarly, the Fifth Circuit upheld a conviction for health care fraud of a cardiologist

who intentionally performed unnecessary stent procedures. Patel, 485 F. App’x 702. In

Patel, the Government relied on expert testimony and “other facts probative of both intent

and the absence of medical necessity in [Patel’s] procedures.” Id. at 709. At trial, “it was

uncontested that the margin of error with Dr. Patel’s technique of visually estimating

blockage is approximately 10% in either direction.” Id. (emphasis added). “In count after

count, the divergence between Dr. Patel’s estimate in his documentation ... and the

government’s evidence was vast.” Id. For example, in Count Eleven, “the government’s

expert found zero blockage, whereas Dr. Patel claimed between 60% and 70% blockage.”

Id. “From this type of evidence, jurors were entitled to disbelieve Dr. Patel’s claims of good

faith, and instead conclude that his figures had been falsifications.” Id.

       In Patel, the Government also presented peer comparison data and evidence of Dr.

Patel’s post-investigation conduct, where he ordered fewer procedures, revised existing

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patient medical findings, and cancelled already-scheduled procedures. Id. Moreover, there

was evidence that Patel “contributed to the falsification of patient records;” medical charts

indicated that his patients had reported chest pain symptoms, but those patients testified

that they had “never made those complaints.” Id. Finally, the Fifth Circuit noted that the

district court “viewed Patel’s days on the stand as rife with perjury.” Id. Accordingly, the

court held that there was sufficient evidence to sustain Patel’s convictions for health care

fraud.

         As detailed above, the evidence presented at trial against Dr. Paulus was vastly

different from the evidence presented against Doctors McLean and Patel. In both McLean

and Patel, the evidence established that inter-observer variability could account for, at

most, a 20% difference between cardiologists’ stenosis assessments. Here, the evidence

failed to establish that. The Government did not prove that degree of stenosis is an

objectively verifiable fact subject to proof or disproof, or that inter-observer variability could

not account for Dr. Paulus’s alleged overstatements. Therefore, the Government did not

present sufficient evidence of falsity and a reasonable jury could not conclude, beyond a

reasonable doubt, that Dr. Paulus made a false statement, as opposed to a good faith

difference of medical opinion.

         At oral argument on these motions, when pressed by the Court, the Government

attempted to point to facts that make this case more akin to McLean and Patel. However,

those attempts fail. First, both McLean and Patel had significantly stronger angiogram and

expert opinion evidence that proved falsity. More importantly, the primary distinguishing

factor between this case and McLean and Patel is the stark difference in the circumstantial

evidence.

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       In McLean, the Government had evidence of statements by the defendant, the

falsification of patient symptoms to justify procedures, inconsistent explanations regarding

the defendant’s eye condition, and an attempt to shred patient files, in addition to a financial

motive. Considering the totality of this evidence, the Fourth Circuit held that McLean’s

convictions were supported by substantial evidence. McLean, 715 F.3d at 140. Likewise,

in Patel, the Government produced substantial evidence in addition to expert testimony,

including peer comparison data, evidence that the defendant falsified patients’ files by

recording complaints of chest pain, and evidence that after the Government executed its

search warrant the defendant ordered fewer procedures, revised existing patient medical

findings, and cancelled already-scheduled procedures. Patel, 485 F. App’x at 709.

       In this case, the Government has far less compelling circumstantial evidence.

Notably, incriminating statements by the defendant, falsification and revision of patient

records to justify procedures, and evidence destruction, as well as a proven false

statement, were critical in McLean and Patel, but are entirely absent here. Accordingly, the

Court finds that both McLean and Patel are significantly distinguishable from this case.

                             ii.    The Government failed to prove fraudulent intent.

       Both § 1347 and § 1035 require the Government to prove as an element that Dr.

Paulus acted with intent to defraud. (Doc. # 269, Instruction Nos. 12 and 14). In the Sixth

Circuit, fraud requires the “specific intent to deceive or defraud.” Frost, 125 F.3d at 354.

“[A] scheme to defraud must involve ‘intentional fraud, consisting [of] deception intentionally

practiced to induce another to part with property or to surrender some legal right, and which

accomplishes the end designed.” Id. (quoting American Eagle Credit Corp. v. Gaskins, 920

F.2d 352, 353 (6th Cir. 1990)).

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       “At the outset, it should be noted that ‘the question of intent is generally considered

to be one of fact to be resolved by the trier of the facts ... and the determination thereof

should not be lightly overturned.’” White, 492 F.3d at 394 (quoting United States v. Wagner,

382 F.3d 598, 612 (6th Cir. 2004)). Moreover, “circumstantial evidence alone can sustain

a guilty verdict[, and it] need not remove every reasonable hypothesis except that of guilt.”

United States v. Martinez, 588 F.3d 301, 314 (6th Cir. 2009) (quoting United States v.

Hughes, 505 F.3d 578, 592 (6th Cir. 2007)). “However, a line must be drawn between valid

circumstantial evidence, and evidence which requires a leap of faith in order to support a

conviction.” White, 932 F.2d at 590.

       As the Sixth Circuit has observed, “it is difficult to prove intent to defraud from direct

evidence” and “a jury may consider circumstantial evidence of fraudulent intent and draw

reasonable inferences therefrom.” United States v. Davis, 490 F.3d 541, 549 (6th Cir.

2007) (internal quotation marks omitted). “Intent can be inferred from efforts to conceal the

unlawful activity, from misrepresentation, from proof of knowledge, and from profits.” Id.

(internal quotation marks omitted). The Government claims that Dr. Paulus employed each

of these mechanisms – concealment, misrepresentation, knowledge, and profits, as well

as others – which establish fraudulent intent. While the Government’s theory of the case

is that Dr. Paulus made a misrepresentation regarding the extent of his patients’ blockages,

concealed that misrepresentation by recording at least a 70% blockage in his patients’

medical records, and profited from each procedure; without a proven false statement, this

house of cards falls apart.

       The Government relies on exactly the same circumstantial evidence for fraudulent

intent as it does for falsity. (Doc. # 245 at 8). Specifically, the Government points to the

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volume of procedures, the trends at KDMC pre-Dr. Paulus’s arrival and post-investigation,

statements by co-workers that they believed Dr. Paulus performed unnecessary

procedures, testimony of Dr. Paulus’s patients, Dr. Paulus’s profits, the anonymous

complaint to the KBML, and the Agreed Order of Retirement that Dr. Paulus entered into

with the KBML.

       While this circumstantial evidence is slightly more persuasive in the fraudulent intent

context than it was for falsity, it ultimately falls short. As stated above, even considering

the totality of the evidence in the light most favorable to the Government, this circumstantial

evidence does not permit a jury to conclude, beyond a reasonable doubt, that Dr. Paulus

acted with specific intent to defraud. The incriminating statements by the defendant,

falsification of patient records to justify procedures, and evidence destruction, as well as

a proven false statement, that existed in McLean and Patel, are glaringly absent here. In

this case, the Government has far less compelling circumstantial evidence, in addition to

failing to prove falsity. Drawing all reasonable inferences in the Government’s favor, there

is insufficient evidence to permit a reasonable jury to infer that Dr. Paulus acted with

fraudulent intent.

       The evidence presented at trial, even construed in the light most favorable to the

Government, is insufficient to support Dr. Paulus’s convictions for health care fraud and

false statements relating to a health care matter. Thus, a rational trier of fact could not

conclude, beyond a reasonable doubt, that Dr. Paulus knowingly and willfully exaggerated

the extent of his patients’ stenosis in their medical records, for the purpose of defrauding

a health care benefit program. Unfortunately for the Government, this issue infects each

count of conviction.

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                      c.      Dr. Paulus’s Motion for Judgment of Acquittal is granted.

       The Court appreciates the seriousness of allegations that a doctor unnecessarily

performed invasive medical procedures on patients, which is prohibited by the health care

fraud statutes.29 The Court also recognizes that if every doctor can hide behind the guise

of subjective medical judgment, the health care fraud statutes may be rendered useless for

prosecuting unnecessary services fraud. However, that is not what this Court has held.

Every doctor cannot hide behind the guise of subjective medical judgment. Instead, where

the necessity of the service is capable of confirmation or contradiction and the doctor’s

stated “opinion” can be proven to be objectively false, that case (if proven beyond a

reasonable doubt) can sustain a conviction. That is not this case.

       Rather, this case appears to be the very scenario Congress had in mind when it

stated that the health care fraud statute is “not intended to penalize a person who exercises

a health care treatment choice or makes a medical or health care judgment in good faith

simply because there is a difference of opinion regarding the form of diagnosis or

treatment.” H.R. REP. NO. 104-736, at 258 (August 21, 1996), reprinted in 1996

U.S.C.C.A.N. 1990, 2071. Here, the Government’s evidence failed to prove that stenosis

estimates were subject to proof or disproof or that Dr. Paulus’s assessments constituted

false statements. The evidence at trial proved only that there was a difference of opinion

regarding the form of diagnosis or treatment. Neither § 1347 nor § 1035 are intended to



29     “The broad language of § 1347 shows that Congress intended for this statute to include
       within its scope a wide range of conduct so that all forms of health care fraud would be
       proscribed, regardless of the kind of specific schemes unscrupulous persons may concoct.”
       Davis, 490 F.3d at 547 (citing United States v. Lucien, 347 F.3d 41, 51 (2d Cir. 2003)). See
       also H.R. REP. NO.104-747 (Aug. 2, 1996), “Health Care Fraud: All Public and Private
       Payers Need Federal Criminal Anti-Fraud Protections,” 1996 WL 440279.

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penalize such conduct.

       Thus, the Government has failed to prove, beyond a reasonable doubt, that Dr.

Paulus made a false statement and did so with fraudulent intent, and the evidence is

insufficient to support the convictions for health care fraud, as well as the false statement

counts. Accordingly, Dr. Paulus’s Motion for Judgment of Acquittal (Doc. # 220) is granted

as to all counts of conviction.

       B.      Motion for a New Trial30

               1.     Standard of Review

       Federal Rule of Criminal Procedure 33 allows a defendant to request that any

judgment be vacated and that a new trial be granted if the “interest of justice so requires.”

That motion can be granted if the verdict “was against the manifest weight of the evidence,”

or if a “substantial legal error” occurred during the proceedings. United States v. Callahan,

801 F.3d 606, 616 (6th Cir. 2015) (quoting United States v. Munoz, 605 F.3d 359, 373 (6th

Cir. 2010)). When considering whether a verdict was against the weight of the evidence,

the district court acts “in the role of the thirteenth juror,” and may consider the credibility of

witnesses and the weight of the evidence. Callahan, 801 F.3d at 616 (quoting United

States v. Lutz, 154 F.3d 581, 589 (6th Cir. 1998)). Any legal error that is significant enough

to require reversal on appeal is an adequate ground for granting a new trial. Munoz, 605

F.3d at 373 (quoting with approval United States v. Wall, 389 F.3d 457, 474 (5th Cir.


30     Federal Rule of Criminal Procedure 29(d)(1) provides: “If the court enters a judgment of
       acquittal after a guilty verdict, the court must also conditionally determine whether any
       motion for a new trial should be granted if the judgment of acquittal is later vacated or
       reversed.” See also United States v. Crumpton, 824 F.3d 593 (6th Cir. 2016) (“In granting
       Crumpton’s motion for judgment of acquittal, the district court was required to ‘conditionally
       determine whether any motion for a new trial should be granted if the judgment of acquittal
       is later vacated or reversed.’”)

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2004)).

                2.   The Court did not commit a substantial legal error which
                     necessitates a new trial.

       Dr. Paulus points to several legal errors that he claims necessitate a new trial. In

order for a legal error to be “substantial” it must be egregious enough that it would warrant

reversal on appeal. Munoz, 605 F.3d at 373. The Court has carefully examined each of

these alleged errors and concludes that none necessitate a new trial.

                     a.     Angiogram Evidence

       First, Dr. Paulus makes several arguments regarding the angiogram evidence.

Specifically, Dr. Paulus claims that the Court erred by admitting the “altered” angiograms

into evidence and permitting the Government’s expert witnesses to opine on the “altered”

angiograms. (Doc. # 298-1 at 27-32). The Government disagrees, arguing that the

angiograms accurately depict patients’ arteries and accurately reflect the true degree of

blockage. (Doc. # 306 at 7-19). The Government also claims that the angiograms were

properly admitted, because they were not “altered” nor were they “unduly prejudicial” under

Rule 403, and therefore, the Government’s experts’ reliance upon them was appropriate.

Id. at 25-27.

       The Court declines the invitation to reconsider its prior Daubert Order (Doc. # 155);

however, the Court will briefly address Dr. Paulus’s arguments regarding the authentication

and admissibility of the angiograms, as well as the reliability of Doctor Ragosta’s and

Doctor Moliterno’s opinions based on the angiograms.

                            i.     Authentication

       The angiograms were admissible under Federal Rules of Evidence 901 and 1003.


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Rule 901 requires the proponent of evidence to “produce evidence sufficient to support a

finding that the item is what the proponent claims it is,” to authenticate an item of evidence.

FED. R. EVID. 901(a). As the Court held in its prior Order, a coronary angiogram is

essentially a x-ray, which is a “photograph” for purposes of authentication and admission.

(Doc. # 155 at 7). See FED. R. EVID. 1002 Advisory Committee’s Note. “To prove the

content of a photograph, the original is required except as provided by the Rules.” Id. (citing

FED. R. EVID. 1002) (emphasis added). One exception the Federal Rules make is for

duplicates.

       A “duplicate” is “a counterpart produced by a mechanical, photographic, chemical,

electronic, or other equivalent process or technique that accurately reproduces the original.”

FED. R. EVID. 1001(e). “A counterpart produced by means of photograph, including

enlargements and miniatures, is a duplicate under” Rule 1001(4). 31 Fed. Prac. & Proc.

Evid. § 7167(4). Therefore, a “duplicate is admissible to the same extent as an original

unless a genuine question is raised about the original’s authenticity or the circumstances

make it unfair to admit the duplicate.” FED. R. EVID. 1003.

       After extensive briefing, argument, and testimony, the Court concluded that the

archived, compressed, and downscaled angiograms are a “counterpart produced by

electronic processes” and “accurately reproduce the original,” and thus, constitute

“duplicates” under Rule 1003. (Doc. # 155). While the archived angiograms are of a lesser

quality than the originals Dr. Paulus viewed, the angiograms are not of such poor quality

that there were suspicions regarding the angiograms’ reliability. And while the angiograms

were compressed and downscaled during the archiving process, the changes were not

material or misleading.

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       Accordingly, the angiograms’ admission comports with Rules 901, 1002, and 1003.

Dr. Paulus was free to challenge the angiogram evidence through cross-examination and

the testimony of his own expert witnesses, which he did. In fact, the parties even entered

into a stipulation, which the Court read to the jury before the Defendant rested his case.

The Court explicitly told the jury that “the United States stipulates that the images that were

viewed live in the cath lab at whatever date are not what was on the films that were

presented during the trial.” (Doc. # 259 at 136). Thus, the angiograms were properly

authenticated, and it was up to the jury to determine how much weight, if any, to give to the

angiograms.

                             ii.    Rule 403 Considerations

       Dr. Paulus also argues that the “altered” angiograms should have been excluded

under Rule 403 because the Government’s reliance upon them “lulled the jury into

speculating that Dr. Paulus must have seen the same thing.” (Doc. # 298-1 at 29-30). This

argument is meritless. The Court told the jury that the Government had stipulated that the

angiograms were not the same as what Dr. Paulus saw in the catheterization lab. (Doc. #

259 at 136).

       Relevant evidence may be excluded if “its probative value is substantially

outweighed by the danger of unfair prejudice, confusion of the issues, or misleading the

jury, or by consideration of undue delay, waste of time, or needless presentation of

cumulative evidence.” FED. R. EVID. 403. “‘Unfair prejudice’ in the context of Rule 403

means an undue tendency to suggest a decision based on improper considerations; it does

not include the prejudicial ‘damage to a defendant’s case that results from the legitimate

probative force of relevant evidence.’” United States v. Wright, 102 F. App’x 972, 979 (6th

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Cir. 2004) (citing United States v. Bilderbeck, 163 F.3d 971, 978 (6th Cir. 1999) & United

States v. Lucas, 357 F.3d 599, 606 n.2 (6th Cir. 2004)).

       The angiograms were highly relevant, and the probative value of that evidence was

not substantially outweighed by the danger of unfair prejudice. Although the angiograms

introduced into evidence were not the original live images viewed by Dr. Paulus, the jury

was aware of that fact, and Dr. Paulus was entitled to, and did, attack the angiogram

evidence through cross-examination and the testimony of his own expert witnesses.

Therefore, for the reasons stated above, it was not substantial error to admit the altered

angiograms.

                             iii.   Opinions of the Government’s Expert Witnesses

       Lastly, Dr. Paulus argues that the Court committed a substantial legal error “in

permitting Dr. Ragosta and Dr. Moliterno to testify about the altered angiograms.” (Doc.

# 298-1 at 30). Dr. Paulus does not challenge either experts’ qualifications or the relevancy

of their testimony. Instead, Dr. Paulus claims that because “neither Dr. Moliterno nor Dr.

Ragosta knows what was changed in the altered angiograms, their testimony is not reliable

and cannot pass the Daubert standard.” Id. at 31.

       Under Rule 702, a proposed expert’s opinion is admissible if (1) the witness is

qualified by knowledge, skill, experience, training, or education; (2) the testimony of that

expert witness is relevant, meaning that it will assist the trier of fact to understand the

evidence or to determine a fact in issue; and (3) the testimony of that expert is reliable. See

In re Scrap Metal Antitrust Litig., 527 F.3d 517, 529 (6th Cir. 2008). The proponent of the

evidence has the burden of establishing that the pertinent admissibility requirements are

met by a preponderance of the evidence. See Bourjaily v. United States, 483 U.S. 171

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(1987); see also Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244, 251 (6th Cir. 2001).

       To satisfy Rule 702, Dr. Moliterno’s and Dr. Ragosta’s methods and conclusions

must be reliable. See Tamraz v. Lincoln Elec. Co., 620 F.3d 665, 671 (6th Cir. 2010)

(rejecting an expert’s conclusions as too speculative and attenuated). In judging the

reliability of the doctors’ methods, the Court primarily looks to the four Daubert factors: (1)

testing, (2) peer review, (3) error rates, and (4) “acceptability” in the relevant scientific

community. See Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 593-94

(1993). The Court previously found that all four of the Daubert factors weighed in favor of

admitting the angiograms and that Dr. Moliterno’s and Dr. Ragosta’s opinions were

sufficiently reliable. The evidence at trial did not present any reason to disturb the Court’s

prior decision.   Therefore, Dr. Moliterno’s and Dr. Ragosta’s expert testimony was

sufficiently reliable under Daubert, and it was not legal error to permit such testimony.

       As the Court previously ruled, the angiogram evidence is certainly not “misleading

junk science” that should be excluded under Rule 702 and Daubert. Best v. Lowe’s Home

Ctrs., Inc., 563 F.3d 171, 176-77 (6th Cir. 2009). Instead, the angiogram and expert

opinion testimony was the quintessential “shaky but admissible evidence” that Daubert

permits. Daubert, 509 U.S. at 596. Rather than exclusion, “[v]igorous cross-examination,

presentation of contrary evidence, and careful instruction on the burden of proof are the ...

appropriate means of attacking” the angiogram evidence in this case. Id.

       “Once a court admits the testimony, ‘then it is for the jury to decide whether any, and

if any what, weight is to be given to the testimony.’” United States v. Bonds, 12 F.3d 540,

563 (6th Cir.1993) (citing United States v. Stifel, 433 F.2d 431, 438 (6th Cir. 1970)). “In the

context of scientific evidence, this means that ‘conflicting testimony concerning the

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conclusions drawn by experts, so long as they are based on a generally accepted and

reliable scientific principle, ordinarily go to the weight of the testimony rather than its

admissibility.’” Id. (citing United States v. Brown, 557 F.2d 541, 556 (6th Cir. 1977)).

Therefore, “[q]uestions about the certainty of the scientific results are matters of weight for

the jury.” Id.

       Unfortunately for the Government, despite clearing the Daubert hurdle and having

the evidence admitted, the angiogram and expert opinion evidence failed to establish that

the degree of stenosis is an objectively verifiable fact capable of confirmation or

contradiction. Therefore, although admissible, the evidence is insufficient to prove falsity

and cannot sustain the conviction.

                     b.       Jury Instructions

       Dr. Paulus also takes issue with the jury instructions and claims that the Court erred

by failing to instruct the jury that a mere difference of opinion among physicians was not

sufficient to demonstrate fraud, failing to include a jury instruction on an essential element

of the offense, and failing to provide a “unanimity of theory” instruction. Id. at 32-38.

       A court’s choice of jury instructions is reviewed for abuse of discretion. United

States v. Ross, 502 F.3d 521, 527 (6th Cir. 2007). “A trial court has broad discretion in

crafting jury instructions and does not abuse its discretion unless the jury charge fails” to

“accurately ... reflect the law.”    Id. (internal citations and quotation marks omitted).

Therefore, to prevail on this argument, Dr. Paulus must demonstrate that “the instructions,

viewed as a whole, were confusing, misleading, or prejudicial.” United States v. Harrod,

168 F.3d 887, 892 (6th Cir. 1999) (quoting Beard v. Norwegian Caribbean Lines, 900 F.2d

71, 72-73 (6th Cir. 1990)).

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       Dr. Paulus argues that the Court’s refusal to include certain instructions was error.

“[A] district court’s refusal to deliver a requested instruction is reversible only if that

instruction is ‘(1) a correct statement of the law, (2) not substantially covered by the charge

actually delivered to the jury, and (3) concerns a point so important in the trial that the

failure to give it substantially impairs the defendant’s defense.’” United States v. Mack, 159

F.3d 208, 218 (6th Cir. 1998) (quoting United States v. Williams, 952 F.2d 1504, 1512 (6th

Cir. 1991)). Dr. Paulus’s three arguments regarding the jury instructions fail to meet this

three-pronged standard.

       First, Dr. Paulus claims that the jury should have received “more extensive and

particularized instructions concerning a physician’s right to choose the appropriate

treatment.” (Doc. # 298-1 at 38). In particular, Dr. Paulus points to three excerpts from his

proposed instructions that the Court did not include:

       (1) “A mere difference of opinion between physicians, without more, is not
       enough to show falsity.” (Doc. # 293 at 3).

       (2) “A defendant does not act with an intent to defraud if he is exercising his
       medical judgment in good faith when deciding how to treat a patient. If you
       find that Dr. Paulus was exercising his medical judgment in good faith
       (regardless of whether other physicians disagree and think that the treatment
       was inappropriate), you must find him not guilty of this charge.” Id. at 3-4.

       (3) “In deciding whether Dr. Paulus was exercising his medical judgment, you
       must allow Dr. Paulus to make his determination in light of all attendant
       circumstances – psychological and emotional, as well as physical – that
       might be relevant to the well-being of the patient.” Id. at 4.

       The Court’s refusal to include these instructions did not constitute error. Even

assuming that these requested instructions satisfy the first and third prongs of the test, Dr.

Paulus’s argument fails because he cannot satisfy the second prong. All of Dr. Paulus’s

proposed instructions were substantially covered by the charge actually delivered to the

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jury.

        In fact, the Court instructed multiple times on the very concepts that Dr. Paulus now

claims were omitted in error. Instruction No. 12, which instructed the jury on the elements

of health care fraud, also cautioned: “The health care fraud statute is not intended to punish

physicians for making judgment calls. It is also not intended to criminalize questionable

decision making or even medical malpractice.” (Doc. # 269, Instruction No. 12). Moreover,

the Court gave a lengthy good faith instruction. Id., Instruction No. 13. The Court also

provided the jury with a detailed description of Dr. Paulus’s defense theory in Instruction

No. 16, which explained that: “The defense states that Dr. Paulus believed in good faith that

his patients suffered from serious heart conditions and that he exercised his medical

judgment in providing treatment that he believed to be in the best interest of the patients.”

Id., Instruction No. 16. Furthermore, the Court instructed the jury on the voluntary nature

of the medical guidelines and ensuring that the jury understood that “[i]t does not violate

any criminal law if physicians do not comply with these guidelines, which change over time,

and the guidelines are not intended to replace clinical judgment of the physician.” Id.,

Instruction No. 17. The Court also reminded the jury that it was up to them “to decide what

weight, if any, to give to these guidelines when deciding whether the Defendant was

exercising his medical judgment.” Id. Accordingly, the “more extensive and particularized

instructions concerning a physician’s right to choose the appropriate treatment” that Dr.

Paulus requested were substantially covered by the charge actually delivered to the jury.

As a result, the Court’s refusal to give Dr. Paulus’s preferred and “more particularized”

instructions does not amount to a substantial legal error.



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       Second, Dr. Paulus argues that the jury instructions “failed to include an instruction

on an essential element” for the false statement counts. (Doc. # 298-1 at 41). Specifically,

Dr. Paulus contends that the Court should have instructed the jury that it must find “the

statement concerned a fact capable of confirmation.” Id. The Court agrees that Dr.

Paulus’s requested instruction is an accurate statement of the law. However, this proposed

instruction was substantially covered in Instruction No. 14. Importantly, the Court instructed

the jury that a “materially false” statement or representation was an essential element of

the § 1035 counts. (Doc. # 269, Instruction No. 14). The Court further instructed the jury:

“A representation is ‘false’ if it is known to be untrue or is made with reckless indifference

as to its truth or falsity.” Id. The Court may not have defined “false statement” with the

exact language that Dr. Paulus wished, but the Court did adequately define falsity.

Accordingly, the refusal to include this precise definition of falsity does not constitute a

substantial legal error.

       Third, Dr. Paulus claims that the jury should have received a “unanimity of theory”

instruction for the health care fraud count. (Doc. # 298-1 at 36). However, that proposed

instruction was not a correct statement of the law, and therefore, Dr. Paulus has failed to

satisfy the first prong of the standard.

       “[A] jury in a federal criminal case cannot convict unless it unanimously finds that the

Government has proved each element.” Richardson v. United States, 526 U.S. 813, 817

(1999). However, “a federal jury need not always decide unanimously which of several

possible sets of underlying brute facts make up a particular element, say, which of several

possible means the defendant used to commit an element of the crime.” Id. (internal

citations omitted).

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       Therefore, this distinction between elements and means is critical. A jury need only

unanimously agree that the Government proved all the elements of the crime charged, not

the means, in order to return a guilty verdict. “Where, for example, an element of robbery

is force or the threat of force, some jurors might conclude that the defendant used a knife

to create the threat; others might conclude he used a gun. But that disagreement – a

disagreement about means – would not matter as long as all 12 jurors unanimously

concluded that the Government had proved the necessary related element, namely, that

the defendant had threatened force.” Id.

       To determine whether something is an element of the crime or a means used to

commit the crime, courts look first to the language of the statute. Id. at 817-18. The health

care fraud statute, 18 U.S.C. § 1347, proscribes the knowing and willful execution of a

“scheme or artifice” intended “to defraud any health care benefit program” or “to obtain, by

means of false or fraudulent pretenses, representations, or promises, any of the money or

property owned by, or under the custody or control of, any health care benefit program,”

in connection with the delivery or payment for health care benefits. 18 U.S.C. § 1347(a)

(emphasis added). That language suggests that false representations are a “means” by

which a scheme to defraud may be carried out, not a separate element of the crime.

       As Dr. Paulus concedes in his Motion for a New Trial, “the Court was right that a

unanimity-of-theory instruction is not necessarily required in every health care fraud case.”

(Doc. # 298-1 at 37). Nevertheless, Dr. Paulus claims that such an instruction was

warranted because the Sixth Circuit has “consistently recognized that the need [for a

specific unanimity instruction] arises when it is shown that there is a genuine risk that the

jury is confused or that a conviction may occur as the result of different jurors concluding

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that a defendant committed different acts.” Id. (quoting United States v. Algee, 599 F.3d

506, 514 (6th Cir. 2010)). However, as in Algee, the Government alleged that Dr. Paulus

made “substantially the same false statement” – that the stenosis was at least 70% when

it was less than that – in each of the patients’ medical records. Id. Therefore, there was

no risk of jury confusion, and the unanimity-of-theory instruction was not required.

Accordingly, the Court did not commit a substantial legal error in instructing the jury, and

a new trial is not warranted on those grounds.

                     c.     Allen Charge

       Finally, Dr. Paulus claims that the Court committed substantial legal error by

commenting on specific pieces of evidence during the Allen charge, which “undermined two

central theories of Dr. Paulus’s defense.” (Doc. # 298-1 at 38-42).

       The Sixth Circuit has recognized that “the presiding judicial officer is in the best

position to decide when to give the charge.” United States v. Sawyers, 902 F.2d 1217,

1220 (6th Cir. 1990). “The relevant inquiry is ‘whether, in its context and under all the

circumstances, [the charge] ... was coercive.’” United States v. Clinton, 338 F.3d 483 (6th

Cir. 2003) (quoting Frost, 125 F.3d at 373). When considering whether an Allen charge

was coercive, the Court should consider the “totality of the circumstances.” United States

v. Reed, 167 F.3d 984, 990 (6th Cir. 1999). “Although circumstances alone can render an

Allen charge coercive,” the Sixth Circuit has typically “found an Allen charge coercive when

the instructions themselves contained errors or omissions, not when a defendant alleges

that the circumstances surrounding an otherwise correct charge created coercion.” Frost,

125 F.3d at 375.



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       After the jury indicated that it was having difficulty reaching a verdict on some of the

counts, the Court delivered a slightly modified Allen charge. The vast majority of the

charge tracked the Sixth Circuit’s pattern Allen charge verbatim. (Doc. # 272 at 4, 6-9).

At Dr. Paulus’s request, the Court also instructed the jury that the burden of proof was on

the Government. Id. at 5, 9-11. In doing so, the Court noted the complexity of this case,

and concluded that further explanation was required. Therefore, the Court reminded the

jury that the Government must prove each and every element beyond a reasonable doubt.

Id. at 10-11.

       Dr. Paulus takes issue with two of the Court’s statements during the Allen charge.

First, the Court acknowledged that the jury had “spent quite a bit of time reviewing films,

angiograms.”    Id. at 9.   Dr. Paulus claims that this statement lent credence to the

Government’s position that the angiograms were reliable, a fact that Dr. Paulus had

vigorously contested throughout the trial. However, this comment cannot reasonably be

viewed as a statement on the evidence that undermined Dr. Paulus’s “altered” angiogram

theory. Instead, the Court’s statement was in direct reference to a previous Jury Question.

Specifically, on October 26, 2016 – the third day of deliberations – the Jury asked: “We are

missing the C.D. of the angiogram for [C.C.]. Can this be provided?” (Doc. # 267). Thus,

the Court and all parties were aware of the fact that the jury had been reviewing

angiograms. Regardless, this statement was not coercive.

       Dr. Paulus also claims that the Court erred when the Court reminded the jury that

the Government had the burden to prove each and every element and summarized the

elements required by Instruction Nos. 12 and 14. Explaining the false statement/material

misrepresentation element, the Court explained: “The material misrepresentation, the

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alleged material misrepresentation. Writing down in the cath report whatever the particular

stenosis was vis a vis what you think it might have been based upon the evidence that you

heard, that’s one element, the material misrepresentation.” (Doc. # 272 at 10). Dr. Paulus

asserts that because of the Court’s statement, “the jury may have been more inclined to

believe that a particular stenosis could be proven by looking at the altered angiograms and

other evidence.” (Doc. # 298-1 at 47). However, the Court’s statement was not coercive;

rather, it simply reiterated that the jury must find a false statement to convict on all counts.

Accordingly, neither the Court’s decision to administer the Allen charge nor the specific

language it used constitute a substantial legal error warranting a new trial.

              3.      Dr. Paulus’s conviction was against the manifest weight of the
                      evidence.

       Dr. Paulus claims that the verdict was against the manifest weight of the evidence.

(Doc. # 298-1 at 5-26). Specifically, Dr. Paulus argues that there was insufficient evidence

of criminal intent, insufficient evidence of falsity, and that the jury’s verdict could not be

properly supported by speculation about altered angiograms,31 the Government’s repeated

misstatements of the evidence, or improper evidentiary inferences that the Government

raised. Id.

       Where the defendant raises both a Rule 29 motion for acquittal and a Rule 33

motion for a new trial post-conviction, and where the district court grants the motion for

acquittal in whole or in part, that court must still make a conditional ruling on the

defendant’s motion for a new trial in the event that the conviction is reinstated on appeal.




31     The Court has thoroughly addressed Dr. Paulus’s “altered” angiogram argument in the
       preceding section and will not devote additional time to that claim.

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FED. R. CRIM. P. 29(d)(1); see also Crumpton, 824 F.3d at 609-10. Accordingly, even

though the Court has determined that Dr. Paulus should be acquitted of all counts, it still

must determine if he should be granted a new trial. If the Court’s decision to acquit Dr.

Paulus of all counts is overturned on appeal, Dr. Paulus still should be granted a new trial.

       Dr. Paulus takes issue with several pieces of evidence, which he claims were

inappropriate for a variety of reasons, including the KBML Settlement Agreement, the

generic testimony of other cardiologists, evidence of his compensation, evidence regarding

the volume of procedures, and the Government’s “repeated misstatements of the

evidence.” (Doc. # 298-1 at 19-24). Specifically, Dr. Paulus argues that the Court, sitting

as the thirteenth juror, should “not credit” Dr. Paulus’s overall compensation, the overall

number of procedures, the generic testimony from other cardiologists, or the KBML

Settlement Agreement32 as probative evidence of fraudulent intent. The Court thoroughly

considered all of this evidence in the acquittal section and found it to be insubstantial

circumstantial evidence. Accordingly, no further discussion is warranted.

       Dr. Paulus also claims that the Government made “repeated misstatements of the

evidence,” producing a lengthy list of cites to the transcript where the prosecutor allegedly


32     Dr. Paulus also claims that it was “error for the KBML settlement to be admitted ... at all.”
       (Doc. # 289-1 at 26). Early in this case, Dr. Paulus filed a Motion to Strike Surplusage from
       the Indictment, related to the KBML Settlement. (Doc. # 27). This Court adopted Magistrate
       Judge Atkins’s Report and Recommendation (Doc. # 47), wherein he recommended that
       the Court grant in part and deny in part Dr. Paulus’s Motion. (Doc. # 77). This evidence
       was not the subject of a motion in limine. The KBML Settlement was read into evidence
       when Jon Marshall, a KBML investigator, testified, without objection from Dr. Paulus. (Doc.
       # 195 at 63-72). On the fourteenth day of trial, Dr. Paulus objected to questions regarding
       the KBML Settlement, and the Court sustained that objection pursuant to Rule 403, finding
       that the questioning was cumulative. (Doc. # 239 at 65-66).

       The admission of the KBML Settlement, which was relevant and not unduly prejudicial
       under Rule 403, did not constitute a substantial legal error. However, as the Court noted
       above, the KBML Settlement had little evidentiary value for proving falsity or intent.

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misstated the evidence on critical issues. (Doc. # 289-1 at 31-32). Dr. Paulus asks the

Court to “consider how the jury’s verdict was shaped by the government’s misstatements

of the evidence and frequent use of innuendo in the place of probative evidence.” Id. at 33.

       The Sixth Circuit employs a “two-step approach for determining when prosecutorial

misconduct warrants a new trial.” United States v. Carter, 236 F.3d 777, 783 (6th Cir.

2001) (citing United States v. Carroll, 26 F.3d 1380, 1385-87 (6th Cir. 1994)). First, the

court determines “whether the prosecutor’s conduct or comments and remarks were

improper.” Id. (citing Carroll, 26 F.3d at 1387). “If the remarks were improper, the court

must then consider and weigh four factors in determining whether the impropriety was

flagrant and thus warrants reversal.” Id. “These four factors are as follows: (1) whether the

conduct and remarks of the prosecutor tended to mislead the jury or prejudice the

defendant; (2) whether the conduct and remarks were isolated or extensive; (3) whether

the remarks were deliberately or accidentally made; and (4) whether the evidence against

the defendant was strong.” Id. “When reviewing challenges to a prosecutor’s remarks at

trial, [the Court must] examine the prosecutor’s comments within the context of the trial to

determine whether such comments amounted to prejudicial error.” Id. (citing United States

v. Young, 470 U.S. 1, 11-12 (1985)). Courts must “afford wide latitude to a prosecutor

during closing argument, analyzing disputed comments in the context of the trial as a whole

and recognizing that inappropriate comments alone do not justify reversal where the

proceedings were ‘otherwise fair.’” United States v. Henry, 545 F.3d 367, 377 (6th Cir.

2008) (citing Young, 470 U.S. at 11).

       An examination of the entirety of the prosecutor’s alleged misstatements about Dr.

Samei’s testimony; Lance White’s testimony; the identity of the individual who first raised

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the “altered” angiogram issue; the mischaracterization of arteries as “not blocked,” when

even the Government’s experts’ had found at least a mild blockage; and specifics of A.L.’s

medical history, demonstrates that the alleged misconduct does not rise to the level of

“prosecutorial misconduct.” After considering the context in which the alleged errors were

made, the Court concludes that the purported misstatements did not prejudice Dr. Paulus

or mislead the jury. And even if the prosecutor did err, these seven misstatements were

isolated and do not warrant a new trial.

       Most importantly, and as detailed in the analysis of Dr. Paulus’s Rule 29 motion, the

Government failed to produce sufficient evidence to sustain Dr. Paulus’s conviction and he

is entitled to an acquittal on all counts. Specifically, the Government failed to prove,

beyond a reasonable doubt, that Dr. Paulus made an objectively false statement or acted

with fraudulent intent. Under the acquittal standard, the Court places its thumb on the scale

in favor of the Government. When the Court removes its thumb from the scale and

considers the evidence as the thirteenth juror, without drawing all reasonable inferences

in favor of the Government, the Court must also conclude that the jury’s verdict was against

the manifest weight of the evidence. Therefore, Dr. Paulus is entitled to a new trial on all

counts.

       III.   Conclusion

       Accordingly, for the reasons stated herein,

       IT IS ORDERED as follows:

       (1)    Defendant Dr. Richard Paulus’s Motion for Judgment of Acquittal (Doc. # 220)

is granted;



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      (2)    Dr. Paulus’s Renewed Motion for Judgment of Acquittal (Doc. # 263) is

denied as moot;

      (3)    Defendant Dr. Richard Paulus is hereby acquitted of Counts One, Four, Five,

Eight, Ten, Twelve, Eighteen, Twenty, Twenty-One, Twenty-Four, and Twenty-Five;

      (4)    Defendant Dr. Richard Paulus’s Motion for a New Trial (Doc. # 298) is

conditionally granted;

      (5)    A Judgment reflecting the acquittal on Counts One, Four, Five, Eight, Ten,

Twelve, Eighteen, Twenty, Twenty-One, Twenty-Four, and Twenty-Five, will be filed

contemporaneously herewith;

      (6)    The April 25, 2017 sentencing is vacated; and

      (7)    This is a final and appealable Order.

      This 7th day of March, 2017.




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